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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC,                     §
SUN CLINICAL LABORATORY, LLC.                §
                                             §
                                             §
      Plaintiffs,                            §
                                             §
vs.                                          §     Case No. 5:17-CV-01016-DAE
                                             §
UNITEDHEALTHCARE INSURANCE                   §
COMPANY, UNITEDHEALTHCARE OF                 §
TEXAS, INC., UNITEDHEALTHCARE OF             §
FLORIDA, INC., AND                           §
UNITEDHEALTHCARE SERVICES, INC.,             §
                                             §
      Defendants,                            §
__________________________________________

UNITEDHEALTHCARE INSURANCE                §
COMPANY, INC. AND                         §
UNITEDHEALTHCARE SERVICES, INC.           §
                                          §
      Plaintiffs,                         §
                                          §
vs.                                       §     Case No. 5:18-CV-347-DAE
                                          §
MICHAEL MURPHY, M.D., JESSE               §
SAUCEDO, JR., SAMANTHA MURPHY,            §
LYNN MURPHY, JULIE PRICER,                §
MISSION TOXICOLOGY, LLC, SUN              §
CLINICAL LABORATORY, LLC, SUN             §
ANCILLARY MANAGEMENT, LLC,                §
INTEGRITY ANCILLARY MANAGEMENT,           §
LLC, ALTERNATE HEALTH LAB, INC.,          §
AND LMK MANAGEMENT, LLC,                  §
                                          §
      Defendants.                         §
______________________________________________________________________________

             INDIVIDUAL DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                                COMPLAINT




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       Defendants, Michael Murphy, M.D., Jesse Saucedo, Jr., Samantha Murphy, Lynn

Murphy, and Julie Pricer, (collectively, the ―Individual Defendants‖), hereby respectfully submit

their Motion to Dismiss Plaintiffs‘ Complaint (―Motion‖), showing the Court as follows:

                                 FACTUAL BACKGROUND

        Plaintiffs UnitedHealthcare Insurance Company and UnitedHealthcare Services, Inc.

 (collectively referred to herein as ―Plaintiffs‖ or ―United‖) filed their Original Complaint on

 April 4, 2018 (the ―Complaint‖). United is a health insurance company that either directly

 insures or administers ERISA employee health and welfare benefit plans. United provides

 administrative services for both Self-Funded Plans and Fully-Insured Plans. Complaint at ¶ 73,

 n. 9. Self-Funded Plans are funded by their respective sponsor, usually an employer, and for

 these plans United maintains administrative service agreements. Id. Fully-Insured Plans are

 funded by United, and for these plans United issues insurance policies and provides

 administrative services. ―United provides health insurance and/or administration of health plan

 benefits to insureds or plan participants (i.e. members), pursuant to a variety of health care

 benefit plans and policies of insurance.‖ Id. at ¶ 26. United‘s plans allow members the

 flexibility to choose to obtain healthcare services from either in-network providers or out-of-

 network providers. Id. at ¶¶ 27-28. Mission Toxicology, LLC (―Mission‖), Sun Clinical

 Laboratory, LLC (―Sun‖), Sun Ancillary Management, LLC (―SAM‖), Alternate Health Lab,

 Inc., and LMK Management, LLC (collectively, the ―Labs‖) are all out-of-network providers.

       The Labs are entities that perform diagnostic toxicology urinalysis testing, blood testing,

DNA testing, and allergy testing (hereinafter collectively referred to as ―Laboratory Services‖)

as ordered by licensed medical providers. The Individual Defendants are individuals who each

have varying levels of responsibilities and roles in the different Labs and Integrity Ancillary


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Management, LLC (―IAM‖). The Labs do not directly interface with any of United‘s plan

members prior to performing Laboratory Services. Instead, it is the physicians and/or healthcare

providers that provide medical care and assistance to United‘s plan members and those first-line

providers who determine if, when, and to what extent urinalysis or any other testing is

medically necessary. Once they have determined a patient needs medically necessary

Laboratory Services, the primary providers send samples to the Labs for testing.

       In the course of business, the Labs sometimes work with hospitals to assist them in

providing services that the hospitals could otherwise not provide on their own. Id. at ¶ 52. Two

such hospitals that the Labs worked with were Newman Memorial Hospital (―NMH‖) and

Community Memorial Hospital (―CMH‖). Id. at ¶ 17. Through contracts with these hospitals,

the Labs performed Laboratory Services for many United members and were reimbursed for

many of the claims submitted for the services performed. Id. at ¶ 5. In late 2016 and 2017,

United began denying claims for Laboratory Services performed by the Labs. United‘s failure

to pay the claims led to the Labs filing suit against United in an effort to be reimbursed for

services provided to United members. In response, United filed the instant lawsuit, alleging that

the Labs defrauded United and that the Individual Defendants each knowingly partook in the

alleged fraudulent scheme. Id. at ¶ 1.

       United‘s Complaint should be dismissed with respect to the Individual Defendants for

several reasons. United‘s allegations are based on an alleged fraudulent scheme, yet, in alleging

fraud, the Complaint is completely devoid of facts alleging specific instances of fraud with

respect to the Individual Defendants. Instead United relies on group pleading that fails the

particularity requirements of F.R.C.P. 9(b). Moreover, United ignores the fact that the Individual

Defendants are protected by the structure of the corporate entities for which they acted. United



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also completely ignores the legal implications of seeking amounts paid pursuant to plans

governed by the Employment Retirement Income Security Act of 1974 (―ERISA‖). As is shown

herein, because of the wide-sweeping reach of ERISA, United‘s state-law claims are subject to

preemption and therefore must be dismissed. Furthermore, even if Plaintiffs‘ state-law causes of

action were not subject to ERISA preemption, such causes of action fail under the pleading

requirements of the Fifth Circuit.

                                      STANDARD OF REVIEW

       In deciding a motion to dismiss under Fed.R.Civ.P. 12(b)(6), the Court must accept all

well-pleaded facts alleged in the Complaint as true and must construe the allegations in a light

that is most favorable to United. Central Laborers' Pension Fundv. Integrated Elec. Services

Inc., 497 F.3d 546, 550 (5th Cir.2007). The motion to dismiss should be granted only if the

Complaint does not include ―enough facts to state a claim to relief that is plausible on its face.‖

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). ―To

survive a rule 12(b)(6) motion to dismiss, a complaint ‗does not need detailed factual

allegations,‘ but must provide the plaintiff's grounds for entitlement to relief—including factual

allegations that when assumed to be true ‗raise a right to relief above the speculative level.‘‖

Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir.2007) (quoting Twombly, 550 U.S. at 555, 127

S.Ct. 1955). The ―complaint must contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.‖ Great Lakes Dredge & Dock Co. LLC v. La. State,

624 F.3d 201, 210 (5th Cir.2010). Legal conclusions may provide ―the complaint's framework,

[but] they must be supported by factual allegations.‖ Ashcroft v. Iqbal, 129 S.Ct. 1937,1940, 173

L.Ed.2d 868 (2009).




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                                                ARGUMENT

          I.     Individual Defendants Request an Oral Hearing on the Instant Motion.

          As an initial matter, the Individual Defendants respectfully request an oral hearing

regarding the instant Motion pursuant to Local Rule CV-7(h). Pursuant to Local Rule CV-7(h),

―[t]he allowance of an oral hearing is within the sole discretion of the court.‖ The Court has great

deference on whether or not an oral hearing is appropriate, and its ultimate ruling on whether to

grant such a hearing would only be reviewed under an abuse of discretion standard. See Sanders

v. Agnew, 306 F. App'x 844, 848 (5th Cir. 2009).

          The Individual Defendants contend that there is good cause for the Court to grant an oral

hearing in the instant matter to address 1) the implications of ERISA tracing/preemption; 2) the

deficiencies of the Complaint with respect to the Individual Defendants; and 3) other issues

raised by the parties, both Plaintiffs and Defendants,1 in their respective motions to dismiss.

Moreover, granting the Individual Defendants‘ request for oral hearing serves the interest of

judicial economy because it would expedite the dismissal of any claims the Court finds are

without merit and do not warrant further time and expense to assert or defend. Thus, for these

reasons, the Individual Defendants ask that the Court exercise its discretion and grant the request

for oral hearing.

          II.    United’s Causes of Action Are Subject to Dismissal Because of ERISA
                 Preemption.

          Insofar as Plaintiffs seek recovery for moneys paid pursuant to ERISA plans, the conflict

preemption provisions of ERISA § 514 (28 U.S.C. 1144(a)) preempt and supersede any and all

state law claims, whether derived from legislative enactment or state common law, insofar as

such claims relate to ERISA plans. Lee v. E.I. DuPont de Nemours & Co., 894 F.2d 755, 757–58

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    ―Defendants‖ as used herein refers to all Defendants party to this matter.
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(5th Cir. 1990).2 ERISA‘s conflict preemption provisions of 29 U.S.C. § 1144(a) preempt and

supersede any and all state laws, whether derived from legislative enactment or state common

law, provided that the law relates to an ERISA-governed plan. Hall v. Newmarket Corp, et al.,

747 F.Supp.2d 711, 715 (S.D.M.S. 2010) (citing Lee v. E.I. DuPont de Nemours & Co., 894 F.2d

755, 757–58 (5th Cir.1990)). The Fifth Circuit has recognized the Supreme Court‘s ―connection

or reference‖ test as applicable to the issue of whether state law claims ―relate to‖ an ERISA plan

under § 1144(a). See Texas Pharmacy Ass'n v. Prudential Ins. Co. of Am., 105 F.3d 1035, 1037

(5th Cir.1997); CIGNA Healthplan, Inc. v. Louisiana, 82 F.3d 642, 647 (5th Cir. 1996). The

phrase ―relate to‖ has been interpreted to apply in a broad and sweeping manner. Heimann v.

National Elevator Industry Pension Fund, 187 F.3d 493, 512 (5th Cir. 1999). The term ―state

law‖ is defined by ERISA as including ―all laws, decisions, rules, regulations, or other State

action having the effect of law . . . .‖ 29 U.S.C. § 1144(c)(1). Preemption will apply even if the

state law claims are not specifically designed to affect the ERISA plans or the plans are affected

only indirectly. Hook v. Morrison Milling Co., 38 F.3d 776, 781 (5th Cir. 1994) (citing Alessi v.

Raybestos-Manhattan, Inc., 451 U.S. 504, 525 (1980)).3 Here, United‘s state and common law

claims ―relate to‖ employee benefit plans because its claims are premised on the very existence

of the employee benefit plans. A claim ―relates to‖ a health benefit plan when the claim is

premised on the existence of an employee benefit plan. Hall v. Newmarket Corp, et al., 747

F.Supp.2d 711, 715 (S.D.M.S. 2010) (citing Christopher v. Mobil Oil Corp., (950 F.2d 1209,



2
  While United‘s Complaint does not explicitly state the majority of member plans at issue are
governed by ERISA, upon and information provided in the Complaint, the Exhibits attached
thereto, and belief, Defendants contend that this is the case.
3
  Kersh v. UnitedHealthcare Ins. Co., 946 F.Supp.2d 621, 631 (W.D. Tex 2013) (citing Cefalu v.
B.F. Goodrich Co., 871 F.2d 1290, 1292 n. 5 (5th Cir.1989)) (―A state-law cause of action that
relates to an ERISA plan is preempted ‗even if the action arises under general state law that in
and of itself has no impact on employee benefit plans.‖).
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1220 (5th Cir. 1992)).       United‘s state and common law claims are premised upon its

administration of employee benefit plans. If United did not administer the benefit plans, it could

not have brought state law causes of action against the Individual Defendants. Thus, these state

law claims are subject to ERISA conflict preemption.

       ERISA preempts the claims at issue in this matter in part because ERISA‘s state law

preemption power is extremely broad. ERISA preemption of state law is so broad that it

preempts any state law that refers to or has a connection with an ERISA plan even if that law is

not specifically designed to affect such plans, affects such plans only indirectly, or is consistent

with ERISA‘s substantive requirements. Hook v. The Morrison Milling Company, 38 F.3d 776,

781 (5th Cir. 1994). The breadth of ERISA § 514 is clear based upon the plain reading of the

statute, ―. . . the provisions of this subchapter and subchapter III shall supersede any and all State

laws insofar as they may now or hereafter relate to any employee benefit plan . . .. ‖ ERISA §

514, 29 U.S.C. § 1144(a) (emphasis added). Congress‘ goal in drafting ERISA was to provide

an exclusive federal enclave for the regulation of benefit plans. See Memorial Hospital System v.

Northbrook Life Insurance Company, et al., 904 F.2d 236, 244 (5th Cir. 1990). Preempted state

laws include general state laws that in and of themselves have no impact on employee benefit

plans. Lee, et al. vs. E.I. DuPont de Nemours and Company, 894 F.2d 755, 756 (5th Cir. 1990).

       In Lee, the plaintiffs alleged state law fraud and negligent misrepresentation claims

seeking retirement benefits. The Circuit Court found that the state law causes of action were

related to employee benefit plans, and were preempted based on ERISA § 514, 29 U.S.C. §

1144(a). Similarly, in Cefalu v. B.F. Goodrich Co., 871 F.2d 1290 (5th Cir. 1989), an employee

sought to recover benefits pursuant to a state breach of contract claim. The Circuit Court found

that the breach of contract claim was preempted by ERISA § 514, 29 U.S.C. § 1144(a). The same



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principle governs here. Although United‘s state-law causes of action arise under general state

laws, because the suit seeks to invoke state law in order to recover for alleged acts related to

ERISA benefit plans, the claims for money paid pursuant to such plans must be dismissed as a

matter of law.

       In determining if conflict preemption applies, courts consider ―whether the state law

claims are ‗bound up with interpretation and administration of the ERISA plan.‘‖ Nixon v.

Vaughn, 904 F. Supp. 2d 553, 561 (W.D. La. 2012). Here, the causes of action are inextricable

from the administration of the plans and therefore United‘s state law causes of action should be

dismissed. In regards to United‘s fraud or negligent misrepresentation claims – where a fraud

or negligent misrepresentation claim is based on payments owed or made under a plan, the

claim is preempted. See Transitional Hosps. Corp. v. Blue Cross & Blue Shield, 164 F.3d 952,

954 (5th Cir. 1999) (preempting state law claims by a hospital seeking recovery of benefits

owed under a plan to a plan participant). Moreover, the distinction regarding whether services

are in-network or out-of-network, and whether such in/out-of-network services are covered for

United members is governed by the particular plans. See generally, North Cypress Medical

Center Operating Co., Ltd. v. Cigna Healthcare, 781 F.3d 182, 193-94 (5th Cir. 2015). In its

Complaint, United alleges that the plans were incorrectly administered and reimbursed because

of Defendants‘ misrepresentations and fraudulent nondisclosures. Complaint at ¶¶ 127, 184.

This connection with ERISA plans necessitates a finding of ERISA preemption. See

Transitional, supra, 164 F.3d at 954; Smith v. Texas Children's Hosp., 84 F.3d 152, 154-155

(5th Cir. Tex. May 15, 1996); Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 100 (1983). In regards

to United‘s Claims under the Texas Theft Liability Act, the Fifth Circuit has found that such

claims can be conflict preempted before, in the case, St. Michael’s Emergency Ctr., LLC v.



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Aetna Health Mgmt., LLC, 2011 U.S. Dist. LEXIS 155623, *68-69 (S.D. Tex. Aug. 22,

2011). In St. Michael’s, the plaintiffs argued that the defendants unlawfully obtained services by

failing to pay for treatments provided pursuant to the terms of ERISA plans. Id. Because the

claims were based on a failure to pay as required under the plans, they were governed by

ERISA and therefore preempted. Id. United cannot escape preemption since its claims are based

on the ERISA plans, and thus the same rationale applies here. See Weiner v. Tex. Health

Choice, L.C., 2002 U.S. Dist. LEXIS 2654, *11 (N.D. Tex. Feb. 15, 2002) (no preemption

where claims are not based on the ERISA plans).

        United‘s claims under the Texas Theft Liability Act are subject to ERISA preemption

 because they are based on benefits provided pursuant to the ERISA plans of United members.

 United‘s Texas Theft Liability Act claim is based on: ―words in the claims submitted to

 United, false impressions of facts that IAM, Sun, Mission, Dr. Murphy, and Saucedo did not

 believe to be true;‖ and ―the false impression of fact that [Sun and Mission] were part of

 United‘s provider network . . . .‖ Complaint at ¶¶ 161-62. Each purported instance of conduct

 amounting to appropriation relates to billing for claims, providing services per the ERISA

 plans, and the coverage of services as in-network or out-of-network, pursuant to the terms of

 the plans. This Circuit maintains that preemption applies even if the conduct alleged in the

 Complaint was in some instances only indirectly centered on the ERISA plans. Hook v.

 Morrison Milling Co., 38 F.3d 776, 781 (5th Cir. Tex. Nov. 14, 1994) (citations omitted).

 Here, the unlawfully appropriated property is money paid to Defendants that was only

 ―unlawfully appropriated‖ by United exercising its discretion as an ERISA fiduciary and

 administering benefits pursuant to the plans. Complaint at ¶ 161 (discussing United‘s judgment

 as to whether benefits should be paid). This nexus is sufficient for ERSIA conflict preemption



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 to apply under Fifth Circuit law, and therefore the alleged violations of the Texas Theft

 Liability Act must be dismissed. Finally, United‘s claim for Money Had and Received is

 subject to conflict preemption because it too is based on funds provided under the terms of

 ERISA plans. Thus, for the foregoing reasons, United‘s state-law claims are subject to ERISA

 conflict preemption and therefore must be dismissed.

       III.    Fraud and Fraudulent Nondisclosure and Negligent Misrepresentation are
               Insufficiently Pled and Improperly Rely on Group Pleading.

       United‘s Complaint fails to meet the heightened standard of pleading fraud and

therefore must be dismissed. Federal Rule of Civil Procedure 9(b) ―requires, at a minimum, that

a plaintiff set forth the who, what, when, where, and how of the alleged fraud . . . . The Fifth

Circuit interprets Rule 9(b) strictly, requiring specific allegations as to each element of fraud.‖

BC’s Heating & Air and Sheet Metal Works v. Vermeer Mfg. Co., 2012 WL 1067100 at *2

(S.D. Miss. 2012) (internal citations and quotation marks omitted); see also Sullivan v. Leor

Energy, LLC, 600 F.3d 542, 550-51 (5th Cir. 2010). This requires that the party alleging fraud

―specify the statements contended to be fraudulent, identify the speaker, state when and where

the statements were made, and explain why the statements were fraudulent.‖ Dorsey v Portfolio

Equities, Inc., 540 F.3d 333, 339 (5th Cir. 2008) (internal citations and quotation marks

omitted). ―Under Texas law, fraud occurs when: (1) a party makes a material representation; (2)

the misrepresentation is made with knowledge of its falsity or made recklessly without any

knowledge of its truth and as a positive assertion; (3) the misrepresentation is made with the

intention that it should be acted on by the other party; and (4) the other party relies on the

misrepresentation and thereby suffers injury.‖ Beijing Metals & Minerals Import/Export Corp.

v. Am. Bus. Ctr., Inc., 993 F.2d 1178, 1185 (5th Cir.1993); see also Formosa Plastics Corp.

USA v. Presidio Eng'rs & Contractors, Inc., 960 S.W.2d 41, 47 (Tex. 1998). Conn. Gen. Life.

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Ins. Co. v. Humble Surgical Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *46-47 (S.D. Tex. June

1, 2016).

          Fraud-based causes of action should be dismissed where the Complaint groups the

alleged fraudulent conduct of the Individual Defendants together, rather than proving examples

of fraud with respect to each defendant. In the case Southland Sec. Corp. v. INSpire Ins. Sols.,

Inc., group pleading was rejected by the Fifth Circuit Court of Appeals with respect to the

Private Securities Litigation Reform Act (―PSLRA‖). The Court stated: ―we do not construe

allegations in the Complaint against the ‗defendants‘ as a group properly imputable to any

particular individual defendant unless the connection between the individual defendant and the

allegedly fraudulent statement is specifically pleaded.‖ Southland Sec. Corp. v. INSpire Ins.

Sols., Inc., 365 F.3d 353, 365 (5th Cir. 2004). The rejection of group pleading has been expanded

past the PSLRA to apply to pleading any claim at common law. In re Enron Corp. Sec.,

Derivative & ''ERISA'' Litig., 540 F. Supp. 2d 800, 826 (S.D. Tex. 2007) (―The Fifth Circuit

prohibits group pleading in claims under the PSLRA and common law.‖).4

           United‘s pleadings are deficient with regards to the level of specificity when taking

    into account the Fifth Circuit‘s heightened pleading standard and United‘s use of group

    pleading. United references allegedly fraudulent conduct, but does not provide any indication

    as to when or where the conduct occurred. Instead, United‘s Complaint alleges vague,

    generalized allegations with little or no detail actually evidencing an alleged fraud. See, e.g.,

    Complaint at ¶ 119 (―The actions of [Defendants] provided substantial assistance in

    accomplishing the tortious result.‖); see also Complaint at ¶ 121 (―[Defendants] each had

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 Other courts echo the Fifth Circuit‘s rejection of group pleading. E.g., Balko v. Carnegie Fin.
Group Inc. (In re Balko), 348 B.R. 684, 694 (Bankr. W.D. Pa.) (stating ―lumping multiple
defendants in a group defeats the notice objective and is therefore improper under Fed. R. Civ. P.
9(b)‖).
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 knowledge that such conduct constituted a tort and gave IAM and each other assistance and/or

 encouragement, which was a substantial factor in causing the tort.‖). Moreover, the Court

 should not be swayed by United‘s attempts to avoid the appearance of group pleading where it

 lists each of the Individual Defendants by name. See, e.g., id. at ¶ 120 (―Dr. Murphy, Saucedo,

 Lynn Murphy, Samantha Murphy, and Julie Pricer caused these entities to be used for the

 purpose of perpetrating an actual fraud upon United, which was committed primarily for the

 benefit of Dr. Murphy, Saucedo, Lynn Murphy, Samantha Murphy, and Julie Pricer.‖); see

 also id. at ¶¶ 119, 121. This is the equivalent of grouping these individuals together as the

 Individual Defendants and alleging group wrongdoings, which is improper and insufficient

 under Fifth Circuit law. See Southland Sec. Corp., 365 F.3d at 365.

       In the Fifth Circuit, the heightened pleading standard applies to negligent

misrepresentation as well as fraud claims in cases where the plaintiffs do not ―urge a separate

focus‖ on the negligent misrepresentation claims – for instance, where both claims ―are based

on the same set of alleged facts.‖ Benchmark Electronics, Inc. v. J.M. Huber Corp., 343 F.3d

719, 724 (5th Cir. 2003); see also Lone Star Fund V (U.S.) LP v. Barclays Bank, PLC, 594 F.3d

383, 387 n.3 (5th Cir. 2010); Center v. Total Body Contouring Incorporated, 2017 WL 1093203

at *6 (N.D. Miss. 2017). ―Under Texas law, a negligent misrepresentation occurs when: (1) a

party makes a representation in the course of its business or in a transaction in which it has a

pecuniary interest; (2) the representation supplies false information for the guidance of others in

their business; and (3) the party making the representation did not exercise reasonable care or

competence in obtaining or communicating the information.‖ First Nat'l Bank of Durant v.

Trans Terra Corp. Int'l, 142 F.3d 802, 809 (5th Cir. 1998) (quoting Federal Land Bank Ass'n




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v. Sloane, 825 S.W.2d 439, 442 (Tex. 1991)); Conn. Gen. Life. Ins. Co. v. Humble Surgical

Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *49 (S.D. Tex. June 1, 2016).

       Here, United‘s claim of negligent misrepresentation is based on the same set of alleged

 facts as its fraud claim and therefore fails for the same reasons that its fraud claim fails – it has

 not alleged any sufficiently specific facts to satisfy the particularity requirement of Rule 9(b).

 See generally, Spragins v Sunburst Bank, 605 So.2d 777, 780. As with United‘s fraud claim,

 notably missing in its negligent misrepresentation claim is the level of detail required by 9(b):

 the who, what, when, where, why, and how. See Sullivan, 600 F.3d at 551. Because United

 fails to meet this standard, negligent misrepresentation must be dismissed as a matter of law.

       IV.     The Complaint Contains Insufficient Detail to Successfully Allege United’s
               Claim for Fraudulent Transfers.

       United‘s claims for fraudulent transfers must be dismissed as a matter of law because

they are insufficiently pled and lack any factual particularity with respect to intent. A cause of

action for fraudulent transfer must assert that there was actual or constructive fraudulent intent.

Walker v. Anderson, 232 S.W.3d 899, 914 (Tex. App. 2007). Section 24.005(b) of the Texas

Business & Commerce Code Annotated sets out a list of facts and circumstances that can

evidence fraudulent intent.5 Here, United has only offered details showing that the Individual



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   ―In determining actual intent under Subsection (a)(1) of this section, consideration may be
given, among other factors, to whether: (1) the transfer or obligation was to an insider; (2) the
debtor retained possession or control of the property transferred after the transfer; (3) the transfer
or obligation was concealed; (4) before the transfer was made or obligation was incurred, the
debtor had been sued or threatened with suit; (5) the transfer was of substantially all the debtor's
assets; (6) the debtor absconded; (7) the debtor removed or concealed assets; (8) the value of the
consideration received by the debtor was reasonably equivalent to the value of the asset
transferred or the amount of the obligation incurred; (9) the debtor was insolvent or became
insolvent shortly after the transfer was made or the obligation was incurred; (10) the transfer
occurred shortly before or shortly after a substantial debt was incurred; and (11) the debtor
transferred the essential assets of the business to a lienor who transferred the assets to an insider
of the debtor.‖ Tex. Bus. & Com. Code Ann. § 24.005(b).
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Defendants ordered transfers of assets among the different Labs, CMH, and NMH. There is

nothing illegal or even unexpected about individuals ordering that entities which do business

with one another should transfer money. See, e.g. Complaint ¶ 167 (stating that ―[a]t the

direction of Dr. Murphy, Saucedo, Samantha Murphy, Lynn Murphy, and Pricer, NMH and

CMH employees transferred assets to IAM, Sun, SAM, and Mission‖). Indeed, United is

essentially alleging the Individual Defendants have engaged in unlawful conduct by simply

doing their jobs. While United states that the transfer of funds was made, ―with the actual intent

to hinder, delay, and defraud United,‖ this is nothing more than a hollow recitation of the law

with the names of Defendants filled in to the blanks. Complaint at ¶ 171. The Individual

Defendants directed the transfer of funds because the funds were reimbursements for Laboratory

Services that had been performed lawfully by the Labs; United offers no evidence that such

transfers were done to defraud United (or any other party). This cause of action therefore does

not contain enough factual matter to sufficiently plead a claim to survive a motion to dismiss.

See Cuvillier, 503 F.3d at 401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 555, 127 S.Ct.

1955). United concludes by stating that Defendants knew or should have known that NMH and

CMH would soon incur debts beyond their ability to pay, but cites no fact and provides no detail

as to how the Individual Defendants should or could have known of NMH and CMH‘s financial

solvency. Complaint at ¶ 172. United‘s claim for fraudulent transfers is so wholly lacking in

specificity or any factual detail and therefore even accepting United‘s allegations as true, the

claim fails and must be dismissed as to all the Individual Defendants pursuant to F.R.C.P.

12(b)(6).

       V.      United Insufficiently Pleads its Tortious Interference with Contract Claim.
       United‘s claims for tortious interference with contract must be dismissed as a matter of

 law because it is insufficiently pled. Under Texas state law there are four elements to

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 successfully prove a tortious interference with existing contracts: ―(1) an existing contract

 subject to interference, (2) a willful and intentional act of interference with the contract, (3)

 that proximately caused the plaintiff's injury, and (4) caused actual damages or loss.‖

 Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77 (Tex. 2000); see also

 Amigo Broad., LP v. Spanish Broad. Sys., Inc., 521 F.3d 472, 489 (5th Cir. 2008). The party

 alleging tortious interference has the burden of proving each element of the claim. Dunn v.

 Calahan, No. 03-05-00426-CV, 2008 Tex. App. LEXIS 9498, 2008 WL 5264886, at *3 (Tex.

 App.--Austin Dec. 17, 2008, pet. denied) (mem. op.).‖ Rimkus Consulting Group, Inc. v.

 Cammarata, 688 F. Supp. 2d 598, 674-675 (S.D. Tex. Feb. 19, 2010). With respect to the

 second element requiring ―a willful and intentional act of interference with the contract,‖ the

 alleging party must present evidence of specific contract provisions that were breached. Id. at

 675. ―General claims of interference with a business relationship are insufficient to establish a

 tortious interference with contract claim.‖ Id. The claim must make it clear that the

 interference was intentional. Homoki v. Conversion Servs., 717 F.3d 388, 396 (5th Cir. Tex.

 May 28, 2013). ―Moreover, ‗a plaintiff must show that the defendant took an active part in

 persuading a party to breach its contract . . . .[;] [m]erely entering into a contract with a party

 with the knowledge of that party's contractual obligations to someone else is not the same as

 inducing a breach.‘" Seeberger v. Bank of Am., N.A., 2015 U.S. Dist. LEXIS 168348, *62

 (W.D. Tex. Dec. 16, 2015) (quoting Settlement Funding LLC v. RSL Funding, LLC, 3 F. Supp.

 3d 590, 607-08 (S.D. Tex. 2014)).

       Despite the length of the Complaint and many Exhibits, United fails to allege with

specificity that the Individual Defendants knowingly targeted contract provisions. This failure

to provide detail is critical to United‘s claims. United‘s Complaint alleges that Sun, Mission,



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SAM, and IAM, used CMH and NMH‘s billing credentials to disguise out-of-network lab

services as though they were performed by CMH and NMH so that Sun, Mission, SAM, and

IAM would be reimbursed pursuant to the contracts between United and the hospitals.

Complaint at ¶ 149. It then goes on to allege that because the Individual Defendants knew about

their roles in assisting the alleged intentional interference. Id. at ¶ 149. These allegations in no

way equate to a showing that any Defendants, much less the Individual Defendants, knew the

terms of the contract or intentionally interfered with such terms, as is required. See Rimkus

Consulting Group, Inc., 688 F. Supp. 2d 598 at 675. Indeed, United admits that Sun, Mission,

SAM, and IAM are strangers to the contracts between United and the hospitals, and does not

allege how these Defendants or the Individual Defendants would have knowledge of specific

contract terms. Complaint at ¶¶ 149-152. At no point in its Complaint does United reference

any specific agreements, the terms of specific agreements, or how the Individual Defendants

would have knowledge of terms of these agreements. Instead, United‘s defective Complaint

contains exactly the kind of generalized tortious interference claims that are insufficient under

Texas case law, and therefore this cause of action should be dismissed. See Rimkus Consulting

Group, Inc. v. Cammarata, 688 F. Supp. 2d 598, 674- 675 (S.D. Tex. Feb. 19, 2010).

       VI.     United’s Claim for Theft under the Texas Theft Liability Act Fails.

       To establish a Texas Theft Liability Act claim, United must show that: (1) Defendants

unlawfully acquired or otherwise exercised control over property belonging to United; (2)

Defendants intended to withhold the property from United permanently or for an extended period

of time; and (3) United was thereby damaged. Harmon v. Harmon, 962 F. Supp. 2d 873, 883

(S.D. Tex. 2013); Mid-Town Surgical Ctr., LLP v. Blue Cross Blue Shield of Texas, No. CIV.A.

H-11-2086, 2012 WL 3028107, at *4 (S.D. Tex. July 24, 2012); Meadows v. Hartford Life Ins.



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Co., 429 F. Supp. 2d 853, 866 (S.D. Tex. 2006). United‘s Complaint only provides the vaguest

of details regarding the ―deception‖ used by the Individual Defendants to obtain money from

United. See, e.g, Complaint at ¶ 71 (―[Samantha Murphy] offered various misleading

explanations and generally tried to dissuade patients from contacting authorities . . . .‖). United is

surreptitiously revamping its previously alleged fraud claim as a violation of the Texas Theft

Liability Act. Accordingly, United‘s claim for damages under the Texas Theft Liability Act must

be dismissed for the same reason the fraud claims should be dismissed, that is, because they fail

to allege sufficient details about when and where any fraudulent conduct occurred. The general,

nonspecific nature of the allegations of supposed ―deception‖ provides no particularity tying any

specific statements made by any particular individuals on any given occasion. See, e.g.,

Complaint at ¶ 160 ( ―Dr. Murphy, Saucedo, IAM, Sun, and Mission unlawfully appropriated

this property by inducing United to consent to transfer the property to NMH and CMH through

deception.‖). Where the claim is lacking in such specificity, it must be dismissed. Conn. Gen.

Life. Ins. Co. v. Humble Surgical Hosp., LLC, 2016 U.S. Dist. LEXIS 71127, *46-47 (S.D. Tex.

June 1, 2016).

       VII.      Money Had and Received is Insufficiently Pled.

       To establish a claim for money had and received, United must show that the Individual

Defendants hold money that in equity and good conscience that money belongs to United.

Graman v. Graman, No. 05-14-01254-CV, 2016 WL 235055, at *5 (Tex. App. Jan. 20, 2016). A

claim for money had and received is not premised on wrongdoing, but rather looks only to the

justice of the case and inquires whether the defendant has received money which rightfully

belongs to another. Plains Expl. & Prod. Co. v. Torch Energy Advisors Inc., 473 S.W.3d 296,

302 (Tex. 2015). Defendants provided Laboratory Services to patients at the request of medical



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providers and billed only for those services. United has not alleged any facts to support its

assertion that, in fairness, the money for those services belongs to United.

       Moreover, United‘s claim for money had and received states that it paid money to NMH

and CMH for services rendered, but that ―Defendants took the money. . . .‖ Complaint at ¶ 180.

In regards to the Individual Defendants, United‘s cause of action for Money Had and Received

makes no allegation that the Individual Defendants retained any of the funds paid to the Labs.

Complaint at ¶¶ 175-80. Generally alleging that monies paid to the Labs are in the hands of

Defendants, which is not even specific to the Individual Defendants, does not sufficiently plead

this cause of action. See, e.g., Complaint ¶181 (stating the bare assertion that ―[t]he money

United paid to NMH and CMH, which is now possessed by Defendants, belongs in good

conscious to United‖). This failure, coupled with United‘s failure to provide any facts supporting

the notion that fairness would have the money returned to United, demonstrate that this claim

fails and must be dismissed pursuant to F.R.C.P. 12(b)(6).

       VIII. United’s Claims Against the Individual Defendants Should be Dismissed
             Because United Cannot Pierce the Corporate Veil.

       The causes of action against the Individual Defendants should be dismissed because of

United‘s failure to pierce the corporate veil. ―Piercing the corporate veil is possible when the

corporate form has been used as an alter ego of another person or corporation or if it has been

used to perpetrate a fraud, evade an existing obligation, create a monopoly, circumvent a statute,

protect a crime, or justify wrong.‖ Endsley Elec., Inc. v. Altech, Inc., 378 S.W.3d 15, 23 (Tex.

App. 2012) (citation omitted) (citing SSP Partners v. Gladstrong Invs. (USA) Corp., 275 S.W.3d

444, 451 (Tex. 2008). Piercing the corporate veil requirements apply equally to limited liability

companies as they do corporations. Spring St. Partners-IV, L.P. v. Lam, 730 F.3d 427, 443 (5th

Cir. 2013). Piercing the corporate veil should not be allowed unless the separateness between the

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entity and the individual ceases to exist or adhering to the idea that the entity and the individual

are separate would sanction a fraud or promote injustice. Zisblatt v. Zisblatt, 693 S.W.2d 944,

950 (Tex. App. 1985), dismissed (Feb. 19, 1986) (citation omitted); see Wilson v. Davis, 305

S.W.3d 57, 69 (Tex. App. 2009) (―[T]he corporate fiction generally will not be disregarded

absent exceptional circumstances.‖). Moreover, a party must specifically plead its theory for

piercing the corporate veil. Endsley Elec., Inc. v. Altech, Inc., 378 S.W. 3d at 22 (citing Mapco,

Inc. v. Carter, 817 S.W.2d 686, 688 (Tex. 1991); Seidler v. Morgan, 277 S.W.3d 549 (Tex.

App.-Texarkana 2009, pet. denied); Town Hall Estates–Whitney, Inc. v. Winters, 220 S.W.3d 71,

86 (Tex. App.-Waco 2007, no pet.)).

       Here, no exceptional circumstances exist to disregard the corporate form of the entities,

and therefore the causes of action should be dismissed as to the Individual Defendants. United‘s

Complaint fails as to the Individual Defendants because it fails to show that the individuals were

so intertwined with the entities as to warrant piercing the corporate veil. Nowhere does the

Complaint allege that the role of the Individual Defendants is such that the entities they work for

cease to exist. Indeed, even where United anticipates the corporate fail argument, it fails to allege

any specific facts as to how the entities and Individual Defendants are one in the same.

Complaint at ¶ 120. Moreover, allowing the claims to be dismissed as to the Individual

Defendants would not sanction the alleged fraud or promote injustice; if the Court somehow

finds that fraud is sufficiently pled to survive the instant Motion, the entities could continue as

Defendants in this suit.    Where United does not allege a sufficient closeness between the

Individual Defendants and the entities, it does not raise the exceptional circumstances for

piercing the corporate veil, and therefore the Individual Defendants are protected by the




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corporate structures of the entities and all causes of action against the Individual Defendants

should be dismissed.

                                              CONCLUSION

       For the foregoing reasons, the Individual Defendants respectfully ask that this Court

dismiss United‘s Complaint in its entirety.

                                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 18, 2018, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified below in the manner
specified, either by transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not allowed to receive
electronically Notices of Electronic Filing.

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